     Case 2:22-cv-00716-APG-VCF Document 1 Filed 05/04/22 Page 1 of 10




1    MICHAEL C. HETEY, ESQ.
     Nevada Bar No. 5668
2    HAROLD J. ROSENTHAL, ESQ.
     Nevada Bar No. 10208
3    THORNDAL ARMSTRONG DELK
     BALKENBUSH & EISINGER
4    1100 East Bridger Avenue
     Las Vegas, NV 89101-5315
5    Tel.: (702) 366-0622
     Fax: (702) 366-0327
6    mch@thorndal.com
     hjr@thorndal.com
7
     Attorneys for Defendants MATTHEW JAMES
8    WOLCHOK, FOX FREIGHT, INC. and
     CTU LIMITED GROUP
9
                                 UNITED STATES DISTRICT COURT
10
                                       DISTRICT OF NEVADA
11
     AMARA MECHELL BOYD, an individual,
12                                                         CASE NO. 2:22-cv-716
                   Plaintiff,
13
     vs.                                                   DEFENDANTS MATTHEW JAMES
14                                                         WOLCHOK, FOX FREIGHT, INC.
     MATTHEW JAMES WOLCHOK, an                             AND CTU LIMITED GROUP’S
15   individual; FOX FREIGHT, INC., a                      PETITION FOR REMOVAL TO
     corporation; CTU LIMITED GROUP, a                     FEDERAL COURT
16   corporation; DOES 1-10; and ROE BUSINESS
     ENIITIES 1-10,
17
                   Defendants.
18

19
           DEFENDANTS MATTHEW JAMES WOLCHOK, FOX FREIGHT, INC. AND CTU
20            LIMITED GROUP’S PETITION FOR REMOVAL TO FEDERAL COURT
21

22           Defendants MATTHEW JAMES WOLCHOK, FOX FREIGHT, INC. and CTU
23   LIMITED GROUP (“Defendants”), by and through their attorneys of record, THORNDAL
24   ARMSTRONG DELK BALKENBUSH & EISINGER, hereby remove Case Number A-21-
25   832244-C from the Eighth Judicial District Court for Clark County, Nevada to the United States
26   District Court for the District of Nevada pursuant to 28 United States Code sections 1441 and
27   1332. A true and correct copy of the Complaint is attached hereto as Exhibit A.
28




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            On April 2, 2021, Plaintiff AMARA MECHELL BOYD filed a Complaint in the Eighth
1

2    Judicial District for Clark County Nevada, alleging causes of action for Negligence and

3    Negligence Per Se. Plaintiff alleges she is a resident of Clark County, Nevada. Defendant
4
     MATTHEW JAMES WOLCHOK is a resident of the State of Florida. Defendants FOX
5
     FREIGHT, INC. and CTU LIMITED GROUP are Illinois Corporations with their principal
6

7
     places of business in Elk Grove Village, Illinois and Chicago, Illinois, respectively. Therefore,

8    there is complete diversity of citizenship pursuant to 28 USC 1332 (a).
9           Defendant FOX FREIGHT, INC. was served on May 19, 2021, Defendant CTU
10
     LIMITED GROUP was served on June 17, 2021, and Defendant MATTHEW JAMES
11
     WOLCHOK was served by Certified Mail Return Receipt Requested through the DMV upon
12

13   which the DMV acknowledged receipt on August 17, 2021 and mailed the Summons and

14   Complaint documents to Defendant MATTHEW JAMES WOLCHOK at the best address
15
     available. Although, DMV service was completed, it was not sent to Defendants’ Counsel until
16
     March 21, 2023, when Plaintiff’s new counsel provided it to defense counsel at which time
17
     Defendants filed their Answer to the Complaint on March 28, 2022.
18

19          This Petition is timely because Defendants were informed on April 27, 2022 that Plaintiff

20   is asserting $165,866.06 in past medical specials. Previously, the medical specials that had been
21
     disclosed were $4,941.00 and there was no basis to remove the case to Federal Court until April
22
     27, 2022 when, for the first time, Plaintiff disclosed that in fact she had incurred well over the
23

24
     amount in controversy. After suit was first filed, Plaintiff’s prior counsel was negotiating with

25   Defendants’ insurance carriers and then Defendants’ counsel on the basis of a pre-suit demand
26   that included $4,941.00 in medical treatment, so when the Answer was filed on March 28, 2022
27
     there was no basis at that time to seek removal as Defendants had not been informed that in fact
28




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     Plaintiff had incurred $165,866.06 in medical treatment. Plaintiff’s prior counsel withholding
1

2    that fact from Defendants constituted bad faith.

3
            DATED this 4th day of May 2022.
4
                                                  THORNDAL ARMSTRONG DELK
5                                                 BALKENBUSH & EISINGER
6
                                                  /s/ Michael C. Hetey, Esq.
7                                                 MICHAEL C. HETEY, ESQ.
                                                  Nevada Bar No. 5668
8                                                 HAROLD J. ROSENTHAL, ESQ.
                                                  Nevada Bar No. 10208
9                                                 1100 East Bridger Avenue
                                                  Las Vegas, Nevada 89101
10                                                Attorneys for Defendants MATTHEW JAMES
                                                  WOLCHOK, FOX FREIGHT, INC. and
11                                                CTU LIMITED GROUP
12

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     Case 2:22-cv-00716-APG-VCF Document 1 Filed 05/04/22 Page 4 of 10



                                     CERTIFICATE OF SERVICE
1
            I HEREBY CERTIFY that on the 4th day of May 2022, service of the above and
2
     foregoing DEFENDANTS MATTHEW JAMES WOLCHOK, FOX FREIGHT, INC. AND
3
     CTU LIMITED GROUP’S PETITION FOR REMOVAL TO FEDERAL COURT was
4
     made upon each of the parties by placing a true and correct copy thereof in a sealed envelope
5
     placed in the United States Mail, postage pre-paid and addressed as follows.
6

7    Brian P. Clark, Esq.
     Lukas B. McCourt
8    CLARK McCOURT
     7371 Prairie Falcon Road, Suite 120
9
     Las Vegas, NV 89128
10
     Attorneys for Plaintiff
     AMARA MECHELL BOYD
11

12

13
                                                 /s/ Jennifer Hodge
                                                 An employee of THORNDAL ARMSTRONG
14
                                                 DELK BALKENBUSH & EISINGER

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                       EXHIBIT A
                                             Case 2:22-cv-00716-APG-VCF Document 1 Filed 05/04/22 Page 6 of 10
                                                                                                                      Electronically Filed
                                                                                                                      4/2/2021 12:16 PM
                                                                                                                      Steven D. Grierson
                                                                                                                      CLERK OF THE COURT
                                             COMP
                                         1   MICHAEL C. VAN, ESQ., # 3876
                                             TRAVIS J. ROBERTSON, ESQ., # 13387
                                         2   SHUMWAY VAN
                                             8985 South Eastern Avenue, Suite 100
                                         3   Las Vegas, Nevada 89123                                             CASE NO: A-21-832244-C
                                             Tel: (702) 478-7770
                                         4   Fax: (702) 478-7779                                                          Department 15
                                             michael@shumwayvan.com
                                         5   travis@shumwayvan.com
                                             Attorneys for Plaintiff
                                         6
                                                                          EIGHTH JUDICIAL DISTRICT COURT
                                         7
                                                                              CLARK COUNTY, NEVADA
                                         8
                                                                                                Case No.:
                                         9   AMARA MECHELL BOYD, an individual,
                                                                                                Dept No.:
                                        10                   Plaintiff,
Tel (702) 478-7770 Fax (702) 478-7779




                                                                                                              COMPLAINT
8985 South Eastern Avenue, Suite 100




                                             vs.
                                        11
                                             MATTHEW JAMES WOLCHOK, an
                                        12
         Las Vegas NV 89123




                                             individual; FOX FREIGHT, INC., a
          SHUMWAY VAN




                                        13   corporation; CTU LIMITED GROUP, a
                                             corporation; DOES 1-10; and ROE
                                        14   BUSINESS ENTITIES 1-10
                                        15
                                                             Defendants.
                                        16
                                        17
                                                    Plaintiff AMARA MECHELL BOYD (“Plaintiff”), by and through counsel of record
                                        18
                                             undersigned, complains against Defendants MATTHEW JAMES WOLCHOK, (“Mr.
                                        19
                                             Wolchock”) FOX FREIGHT, INC (“Fox Freight”), CTU LIMITED GROUP (“CTU”), DOES
                                        20
                                             1-10, and ROE BUSINESS ENTITIES 1-10, as follows.
                                        21
                                                                              PARTIES IN JURISDICTION
                                        22
                                                    1.      The events and circumstances giving rise to this Complaint occurred in the city of
                                        23
                                             Las Vegas, Clark County, Nevada.
                                        24
                                                    2.      Plaintiff, at all times material herein is and was a resident of Clark County, State
                                        25
                                             of Nevada.
                                        26
                                                    3.      Upon information and belief, Mr. Wolchok, at all times material herein, was a
                                        27
                                             resident of the State of Florida, with sufficient minimum contacts to subject it to the jurisdiction
                                        28



                                                                                            1


                                                                            Case Number: A-21-832244-C
                                             Case 2:22-cv-00716-APG-VCF Document 1 Filed 05/04/22 Page 7 of 10




                                         1   of this Court.
                                         2           4.       Upon information and belief, Fox Freight, at all times material herein, was a
                                         3   corporation conducting business in the state of Nevada, with sufficient minimum contacts to
                                         4   subject it to the jurisdiction of this Court.
                                         5           5.       Upon information and belief, CTU, at all times material herein, was a
                                         6   corporation conducting business in the state of Nevada, with sufficient minimum contacts to
                                         7   subject it to the jurisdiction of this Court.
                                         8           6.       Defendants DOES 1-10 (“Does”) and ROE BUSINESS ENTITIES 1-10 (“Roe
                                         9   Business Entities”) are set forth herein pursuant to Rule 10 of the Nevada Rules of Civil
                                        10   Procedure. They constitute all persons or business entities currently unknown to Plaintiff who are
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8985 South Eastern Avenue, Suite 100




                                        11   believed to be responsible for the events and happenings in any of the following ways, including,
                                        12   but not limited to:
         Las Vegas NV 89123
          SHUMWAY VAN




                                        13           a. Parties responsible in some manner for the events and happenings herein referred to
                                        14                that caused injuries and damages proximately to Plaintiff;
                                        15           b. Parties that are the agents, servants, employees, and/or contractors of the Defendants,
                                        16                each of them acting within the course and scope of their agency, employment, or
                                        17                contract;
                                        18           c. Parties that own, lease, manage, operate, secure, and/ or are responsible for premises
                                        19                or property involved in this matter; and
                                        20           d. Parties that have assumed the liabilities of any of the Defendants by virtue of an
                                        21                agreement, sale, transfer or otherwise.
                                        22           At such time when the names of said DOES 1-10 and ROE BUSINESS ENTITIES 1-10
                                        23   have been ascertained, Plaintiff will request leave from the court to amend this Complaint, insert
                                        24   their true names and capacities, and adjoin them in this action. All the Defendants listed in this
                                        25   action, including DOES 1-10 and ROE BUSINESS ENTITIES 1-10, are referred to herein as
                                        26   “Defendants.”
                                        27           7.       Jurisdiction is obtained and venue is properly set in the Eight Judicial District
                                        28   Court for Clark County, Nevada.



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                                             Case 2:22-cv-00716-APG-VCF Document 1 Filed 05/04/22 Page 8 of 10




                                         1                                     GENERAL ALLEGATIONS
                                         2           6.      Plaintiff incorporates all foregoing paragraphs as though these paragraphs were
                                         3   fully set forth herein.
                                         4           7.      On April 11, 2019, Plaintiff was at a full stop sign facing north at the intersection
                                         5   of Wynn Road and Harmon Avenue in Las Vegas, Nevada.
                                         6           8.      Mr. Wolchok was directly to the left of Plaintiff at the same intersection, driving
                                         7   a large truck and pulling an approximately 53 foot-long trailer.
                                         8           9.      While Plaintiff was still stopped, Mr. Wolchok made a wide right turn onto
                                         9   eastbound Harmon, causing the trailer and/or truck to strike Plaintiff’s vehicle.
                                        10           10.     The truck driven by Mr. Wolchok was owned, operated, controlled, and/or
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8985 South Eastern Avenue, Suite 100




                                        11   maintained by Fox Freight, CTU, Does, and/or Roe Business Entities.
                                        12           12.     At the time of the collision, Mr. Wolchok was an employee, agent, and/or
         Las Vegas NV 89123
          SHUMWAY VAN




                                        13   representative of Fox Freight, CTU, Does, and/or Roe Business Entities, acting within the scope
                                        14   of his employment, agency, and/or representation.
                                        15                                     FIRST CAUSE OF ACTION
                                        16                                                Negligence
                                        17           13.     Plaintiff incorporates all foregoing paragraphs as though these paragraphs were
                                        18   fully set forth herein.
                                        19           14.     Mr. Wolchok owed Plaintiff a duty of reasonable care to operate the truck and
                                        20   trailer in a safe and responsible manner under the circumstances.
                                        21           15.     Mr. Wolchok breached this duty of care by making an unsafe right-hand turn and
                                        22   causing the trailer and/or truck to strike Plaintiff’s vehicle.
                                        23           16.     The truck and trailer driven by Mr. Wolchok was owned, operated, controlled,
                                        24   and/or maintained by Fox Freight, CTU, Does, and/or Roe Business Entities.
                                        25           17.     At the time of the collision, Mr. Wolchok was an employee, agent, and/or
                                        26   representative of Fox Freight, CTU, Does, and/or Roe Business Entities, acting within the scope
                                        27   of his employment, agency, and/or representation.
                                        28



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                                         1           18.     As such, Fox Freight, CTU, Does, and/or Roe Business Entities are also liable for
                                         2   Mr. Wolchok’s actions under the theory of respondent superior.
                                         3           19.     As a direct and proximate result of the foregoing negligence, Plaintiff sustained
                                         4   bodily injuries and had to employ physicians and other health care providers to examine, treat,
                                         5   and care for these injuries, and has and/or will sustain damages for future treatment related to the
                                         6   same injuries, as well as lost wages, property damage, mental, physical, emotional pain and
                                         7   suffering, and attorney’s fees, all in an amount in excess of $15,000.00.
                                         8                                   SECOND CAUSE OF ACTION
                                         9                                           Negligence Per Se
                                        10           17.     Plaintiff incorporates all foregoing paragraphs as though these paragraphs were
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8985 South Eastern Avenue, Suite 100




                                        11   fully set forth herein.
                                        12           18.     The actions of Mr. Wolchok violated the applicable traffic laws existing at the
         Las Vegas NV 89123
          SHUMWAY VAN




                                        13   time of the collision, thus constituting negligence per se.
                                        14           19.     The truck and trailer driven by Mr. Wolchok was owned, operated, controlled,
                                        15   and/or maintained by Fox Freight, CTU, Does, and/or Roe Business Entities.
                                        16           20.     At the time of the collision, Mr. Wolchok was an employee, agent, and/or
                                        17   representative of Fox Freight, CTU, Does, and/or Roe Business Entities, acting within the scope
                                        18   of his employment, agency, and/or representation.
                                        19           21.     As such, Fox Freight, CTU, Does, and/or Roe Business Entities are also liable for
                                        20   Mr. Wolchok’s actions under the theory of respondent superior.
                                        21           22.     As a direct and proximate result of the foregoing negligence, Plaintiff sustained
                                        22   bodily injuries and had to employ physicians and other health care providers to examine, treat,
                                        23   and care for these injuries, and has and/or will sustain damages for future treatment related to the
                                        24   same injuries, as well as lost wages, property damage, mental, physical, emotional pain and
                                        25   suffering, and attorney’s fees, all in an amount in excess of $15,000.00.
                                        26           WHEREFORE, Plaintiff, expressly reserving the right to amend this Complaint prior to
                                        27   or at the time of trial of this action and insert those items of damage not yet fully ascertainable,
                                        28   prays judgment against Defendants as follows:



                                                                                           4
                                             Case 2:22-cv-00716-APG-VCF Document 1 Filed 05/04/22 Page 10 of 10




                                         1           1.      For past and future special damages and general damages for injuries sustained by
                                         2    Plaintiff in an amount in excess of $15,000.00;
                                         3           2.      For reasonable attorney’s fees and costs;
                                         4           3.      For pre-judgment and post-judgment interest at the statutory rate; and
                                         5           4.      For other relief that the Court deems just and proper.
                                         6                                   DEMAND FOR JURY TRIAL
                                         7           Pursuant to NRCP 38, Plaintiff hereby demands a jury trial.
                                         8
                                         9           DATED this 2nd day of April, 2021.
                                        10
Tel (702) 478-7770 Fax (702) 478-7779




                                                                                           SHUMWAY VAN
8985 South Eastern Avenue, Suite 100




                                        11                                                 /s/ Travis J. Robertson
                                        12                                                 MICHAEL C. VAN, ESQ.
         Las Vegas NV 89123




                                                                                           Nevada Bar No. 3876
          SHUMWAY VAN




                                        13                                                 TRAVIS J. ROBERTSON, ESQ.
                                                                                           Nevada Bar No. 13387
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